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                    UNITED STATES DISTRICT COURT
              DISTRICT OF NEW JERSEY – CAMDEN VICINAGE

 CITY SELECT AUTO SALES, INC., a                 Case No. 13-cv-04595-NLH-JS
 new Jersey corporation, individually and
 as the representative of a class of similarly   Assigned to the Hon. Noel L.
 situated persons,                               Hillman
                       Plaintiff,
                                                 Referred to Magistrate Judge Joel
       vs.                                       Schneider

 BMW BANK OF NORTH AMERICA,                      FINAL APPROVAL ORDER
 INC., BMW FINANCIAL SERVICES                    AND JUDGMENT
 NA, LLC, CREDITSMARTS CORP., and
 JOHN DOES 1-12,
                 Defendants.


       The Court having held a Final Approval Hearing on December 16, 2019,
 notice of the hearing having been duly given in accordance with this Court’s Order
 (1) Conditionally Certifying a Settlement Class, (2) Preliminarily Approving Class
 Action Settlement, (3) Approving Notice Plan and (4) Setting Final Approval
 Hearing (the “Preliminary Approval Order”), and having considered all matters
 submitted to it at the Final Approval Hearing and otherwise, and finding no just
 reason for delay in entry of this Final Approval Order and good cause appearing
 therefore,
       It is hereby ORDERED, ADJUDGED AND DECREED as follows:
       1.     The Settlement Agreement and Release dated January 29, 2019,
 including its Exhibits (the “Agreement”), and the definition of words and terms
 contained therein, are incorporated by reference and are used hereafter. The terms
 and definitions of this Court’s Preliminary Approval Order (Dkt. No. 163) are also
 incorporated by reference in this Final Approval Order.

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       2.     This Court has jurisdiction over the subject matter of the Action and
 over the Parties, including all Settlement Class Members with respect to the
 Settlement Class certified for settlement purposes in this Court’s Preliminary
 Approval Order, as follows:
              SETTLEMENT CLASS: All persons in the United
              States that were sent a facsimile advertising the goods or
              services of up2drive, BMW Bank of North America,
              BMW Financial Services NA, LLC, or BMW of North
              America, transmitted by Creditsmarts on or after
              September 1, 2012, through January 1, 2013.

 Excluded from the Settlement Class are: (1) the BMW Defendants, Creditsmarts,
 any parent, subsidiary, affiliate, or controlled person of the BMW Defendants or
 Creditsmarts, as well as their attorneys, officers, directors, agents, servants, or
 employees, and the immediate family members of such persons; (2) the named
 counsel in the Action and any employee of their office or firm; (3) the district and
 magistrate judges assigned to this Action, including their courtroom staff; (4)
 anyone whose claim against the Released Parties has been resolved through prior
 litigation; and (5) all persons who timely and validly request exclusion from the
 Settlement Class.

       3.     For purposes of settlement, Plaintiff is hereby appointed the “Class
 Representative.”
       4.     For purposes of settlement, Phillip A. Bock of Bock, Hatch, Lewis &
 Oppenheim, LLC and Alan C. Milstein of Sherman, Silverstein, Kohl, Rose &
 Podolsky, P.C. are hereby appointed as Class Counsel.
       5.     The Court hereby finds that the Settlement is the product of arm’s-
 length settlement negotiations between Plaintiff and the BMW Defendants.
       6.     Upon the Declaration of Dorothy Sue Merryman, the Court hereby
 finds and concludes that Class Notice was disseminated to members of the

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 Settlement Class in accordance with the terms of the Agreement and that the Class
 Notice and its dissemination complied with the Agreement and this Court’s
 Preliminary Approval Order.
       7.     The Court further finds and concludes that the Class Notice set forth
 in the Agreement fully satisfy Rule 23 of the Federal Rules of Civil Procedure and
 the requirements of due process, was the best notice practicable under the
 circumstances, provided due and sufficient individual notice to all persons in the
 Settlement Class who could be identified through reasonable effort and support the
 Court’s exercise of jurisdiction over the Settlement Class as contemplated in the
 Agreement and this Final Approval Order.
       8.     Upon the Declaration of Raymond A. Garcia (Doc. 164), the Court
 finds that notice has been given to the appropriate State and Federal officials in
 accordance with the Class Action Fairness Act, 28 U.S.C. § 1715.
       9.     No objections were received.
       10.    No persons requested exclusion from the Settlement Class.
       11.    After due consideration of, among other things, the uncertainty about
 the likelihood of: (a) the Class’s ultimate success on the merits; (b) the range of the
 Class’s possible recovery; (c) the complexity, expense and duration of the
 litigation; (d) the substance and amount of opposition to the settlement; (e) the
 state of proceedings at which the settlement was achieved; (f) all written
 submissions, declarations and arguments of counsel; and (g) after notice and
 hearing, this Court finds that the settlement is fair, adequate and reasonable. This
 Court also finds that the financial settlement terms fall within the range of
 settlement terms that would be considered fair, adequate and reasonable.
 Accordingly, the Court hereby finally approves the Settlement and finds that the
 terms constitute, in all respects, a fair, reasonable and adequate settlement as to all


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 Settlement Class Members in accordance with Rule 23 of the Federal Rules of
 Civil Procedure.
       12.    The Court hereby finally certifies the Settlement Class for settlement
 purposes. The Court finds for settlement purposes that the Action satisfies all the
 requirements of Rule 23 of the Federal Rules of Civil Procedure.
       13.    The Court hereby approves the plan of distribution of the Settlement
 Awards as set forth in the Agreement. The Settlement Administrator is hereby
 ordered to comply with the terms of the Agreement with respect to distribution of
 Settlement Awards. Should any residual amount of uncashed checks be
 insufficient to conduct the Second Distribution, or any residual amount remain
 after the Second Distribution, the Court hereby approves Legal Services of New
 Jersey as the cy pres recipient.
       14.    This Court hereby dismisses this Action, with prejudice, without costs
 to any Party, except as expressly provided for in the Agreement.
       15.    As of the Effective Date, Plaintiff and each and every one of the
 Settlement Class Members unconditionally, fully and finally release and forever
 discharge the Released Parties from the Released Claims. In addition, any rights of
 Plaintiff and each and every one of the Settlement Class Members to the
 protections afforded under Section 1542 of the California Civil Code and/or any
 other similar, comparable or equivalent laws will be terminated.
       16.    Plaintiff and each and every Settlement Class Member, and any
 person actually or purportedly acting on behalf of Plaintiff or any Settlement Class
 Member, are hereby permanently barred and enjoined from commencing,
 instituting, continuing, pursuing, maintaining, prosecuting or enforcing any
 Released Claims (including, without limitation, in any individual, class or putative
 class, representative or other action or proceeding), directly or indirectly, in any
 judicial, administrative, arbitral or other forum, against the Released Parties. This
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 permanent bar and injunction is necessary to protect and effectuate the Agreement,
 this Final Approval Order and this Court’s authority to effectuate the Agreement,
 and is ordered in aid of this Court’s jurisdiction and to protect its judgments.
       17.    The Agreement (including any and all exhibits attached thereto) and
 any and all negotiations, documents, and discussions associated with it will not be
 deemed or construed to be an admission or evidence of any violation of any statute,
 law, rule, regulation or principle of common law or equity, or of any liability or
 wrongdoing by the BMW Defendants, or the truth of any of the claims. Evidence
 relating to the Agreement will not be discoverable or used, directly or indirectly, in
 any way, whether in the Action or in any other action or proceeding, except for
 purposes of demonstrating, describing, implementing or enforcing the terms and
 conditions of the Agreement, the Preliminary Approval Order and/or this Final
 Approval Order.
       18.    If for any reason whatsoever this Settlement fails to become effective,
 the certification of the Settlement Class shall be void and the Parties and the
 Action will return to the status quo as it existed prior to the Agreement, and no
 doctrine of waiver, estoppel or preclusion will be asserted in any proceedings, in
 response to any motion seeking class certification, any motion seeking to compel
 arbitration or otherwise asserted at any other stage of the Action or in any other
 proceeding. No agreements, documents or statements made by or entered into by
 any Party in connection with the Settlement may be used by Plaintiff, any person in
 the Settlement Class, the BMW Defendants or any other person to establish
 liability, any defense and/or any of the elements of class certification, whether in
 the Action or in any other proceeding.
       19.    In the event that any provision of the Agreement or this Final
 Approval Order is asserted by the BMW Defendants as a defense in whole or in
 part to any claim, or otherwise asserted (including, without limitation, as a basis
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 for a stay) in any other suit, action or proceeding brought by a Settlement Class
 Member or any person actually or purportedly acting on behalf of any Settlement
 Class Member(s), that suit, action or other proceeding shall be immediately stayed
 and enjoined until this Court or the court or tribunal in which the claim is pending
 has determined any issues related to such defense or assertion. Solely for purposes
 of such suit, action or other proceeding, to the fullest extent they may effectively
 do so under applicable law, the Parties irrevocably waive and agree not to assert,
 by way of motion, as a defense or otherwise, any claim or objection that they are
 not subject to the jurisdiction of the Court, or that the Court is, in any way, an
 improper venue or an inconvenient forum. These provisions are necessary to
 protect the Agreement, this Final Approval Order and this Court’s authority to
 effectuate the Agreement, and are ordered in aid of this Court’s jurisdiction and to
 protect its judgment.
       20.    By incorporating the Agreement and its terms herein, the Court
 determines that this Final Approval Order complies in all respects with Federal
 Rule of Civil Procedure 65(d)(1).
       21.    The Court approves payment of attorneys’ fees and costs to Class
 Counsel in the amount of $1,250,000 in fees and $35,917.01 in litigation costs.
 These amounts shall be paid by the BMW Defendants pursuant to the terms of the
 Agreement. The Court finds these amounts to be appropriate and reasonable in
 light of the work performed by Class Counsel and the benefits to the Settlement
 Class Members. Those amounts shall be paid by the BMW Defendants pursuant to
 the terms of the Agreement.
       22.    The Court approves payment of a service award to Plaintiff in the
 amount of $15,000. This amount shall be paid by the BMW Defendants pursuant
 to the terms of the Agreement.


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